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                             file_2017-04-18_111739.txt
Return-Path: <p2p@copyright.ip-echelon.com>
Received: from digio3.ip-echelon.com (digio3.ip-echelon.com [138.68.47.156])
        by mxin01.lsn.net (8.14.4/8.14.4) with ESMTP id v3I0k6oJ007968
        for <abuse@grandecom.com>; Mon, 17 Apr 2017 19:46:06 -0500
X-Virus-Status: Clean
X-Virus-Scanned: clamav-milter 0.99.2 at av02.lsn.net
Content-Type: multipart/mixed; boundary="===============3742342862374604066=="
MIME-Version: 1.0
From: IP-Echelon Compliance <p2p@copyright.ip-echelon.com>
To: abuse@grandecom.com
Subject: Notice of Claimed Infringement - Case ID 2d63ccd31479274d8c3e
Reply-To: p2p@copyright.ip-echelon.com
X-Originator: p2p@copyright.ip-echelon.com
Message-Id: 02168316-dada-47a8-b19e-0b42d3280ceb@ip-echelon.com
X-Mail-From: p2p@copyright.ip-echelon.com
X-Message-ID: 02168316-dada-47a8-b19e-0b42d3280ceb@ip-echelon.com
X-Notice-ID: 2d63ccd31479274d8c3e
Auto-Submitted: auto-generated
Date: Tue, 18 Apr 2017 00:46:05 +0000 (UTC)


-----BEGIN PGP SIGNED MESSAGE-----
Hash: SHA1

Notice ID: 2d63ccd31479274d8c3e
Notice Date: 2017-04-18T00:46:05Z

Grande Communications

Dear Sir or Madam:
We are contacting you on behalf of Paramount Pictures Corporation (Paramount).
Under penalty of perjury, I assert that IP-Echelon Pty. Ltd., (IP-Echelon) is
authorized to act on behalf of the owner of the exclusive copyrights that are
alleged to be infringed herein.
IP-Echelon has become aware that the below IP addresses have been using your service
for distributing video files, which contain infringing video content that is
exclusively owned by Paramount.

IP-Echelon has a good faith belief that the Paramount video content that is
described in the below report has not been authorized for sharing or distribution by
the copyright owner, its agent, or the law. I also assert that the information
contained in this notice is accurate to the best of our knowledge.
We are requesting your immediate assistance in removing and disabling access to the
infringing material from your network. We also ask that you ensure the user and/or
IP address owner refrains from future use and sharing of Paramount materials and
property.

In complying with this notice, Grande Communications should not destroy any
evidence, which may be relevant in a lawsuit, relating to the infringement alleged,
including all associated electronic documents and data relating to the presence of
infringing items on your network, which shall be preserved while disabling public
access, irrespective of any document retention or corporate policy to the contrary.
Please note that this letter is not intended as a full statement of the facts; and
does not constitute a waiver of any rights to recover damages, incurred by virtue of
any unauthorized or infringing activities, occurring on your network. All such
rights, as well as claims for other relief, are expressly reserved.

Should you need to contact me, I may be reached at the following address:

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Adrian Leatherland
On behalf of IP-Echelon as an agent for Paramount
Address: 7083 Hollywood Blvd., Los Angeles, CA 90028, United States
Email: p2p@copyright.ip-echelon.com

Evidentiary Information:
Protocol: BITTORRENT
Infringed Work: Catch Me If You Can
Infringing FileName: Catch Me If You Can (2002)
Infringing FileSize: 1030172703
Infringer's IP Address: 65.36.73.142
Infringer's Port: 40500
Initial Infringement Timestamp: 2017-04-18T00:45:28Z


<?xml version="1.0" encoding="UTF-8"?>
<Infringement xmlns="http://www.acns.net/ACNS"
xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
xsi:schemaLocation="http://www.acns.net/ACNS
http://www.acns.net/v1.2/ACNS2v1_2.xsd">
  <Case>
    <ID>2d63ccd31479274d8c3e</ID>
    <Status>Open</Status>
    <Severity>Normal</Severity>
  </Case>
  <Complainant>
    <Entity>Paramount Pictures Corporation</Entity>
    <Contact>IP-Echelon - Compliance</Contact>
    <Address>6715 Hollywood Blvd
Los Angeles CA 90028
United States of America</Address>
    <Phone>+1 (310) 606 2747</Phone>
    <Email>p2p@copyright.ip-echelon.com</Email>
  </Complainant>
  <Service_Provider>
    <Entity>Grande Communications</Entity>
    <Email>abuse@grandecom.com</Email>
  </Service_Provider>
  <Source>
    <TimeStamp>2017-04-18T00:45:28Z</TimeStamp>
    <IP_Address>65.36.73.142</IP_Address>
    <Port>40500</Port>
    <Type>BitTorrent</Type>
    <SubType BaseType="P2P" Protocol="BITTORRENT"/>
    <Number_Files>1</Number_Files>
  </Source>
  <Content>
    <Item>
      <TimeStamp>2017-04-18T00:45:28Z</TimeStamp>
      <Title>Catch Me If You Can</Title>
      <FileName>Catch Me If You Can (2002)</FileName>
      <FileSize>1030172703</FileSize>
      <Hash Type="SHA1">e1c033eb3f9a31539d1ca2e12ed80ce11a481a76</Hash>
    </Item>
  </Content>
</Infringement>
-----BEGIN PGP SIGNATURE-----
Version: GnuPG v1
iQEcBAEBAgAGBQJY9WHNAAoJEN5LM3Etqs/WYlAH/2ZNC7A7SDyI8oRVr8qQttiO
s9+J5Rxjh1KvFFSPYACEGqua8Mka+i57ASSnbXuOELtiILeoCDkSVhTo+jwousOq
C30h8kxMgLX7Z1QnsJPuR6GT4ddS1F69uongJqGT06GW2hRLS92OUf93G+yz/1ex
                                       Page 2
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                             file_2017-04-18_111739.txt
3l+sF2sdo6lc/ZGvO7Hc3CysqHNJnxbAv3C6M2rOYHL3RR12LmFFE28EhK9gWn37
Y3YoWDp07znk65nTtUdaxWWzZgnxbvKuWvYJgiBZMq+zdf3JOGIDqjgSNEgQvwVE
+alVTdCF6l+sB4GtWm5vk2POQ6pKtFOZoE0wLiQjT23qOHRjimxqqqYdUmbm5WA=
=j7z7
-----END PGP SIGNATURE-----




                                      Page 3
